CaSe 5:17--cr 00046- §PB- §ES Document 47 Filed 06/22/18 Page 1 of 7 Page|D #: 148

C »00046- §PB §ES Document 38 l`~`iled 05/23/18 Petge l Of 7 PagelD #:117

AO 2458 (Re'v ;udgment in a Criminal Cuse
Shcct l

UNITED STATES DISTRICT COURT
NQRTHERN DISTRICT 01= WEST VIRGINIA

 

 

 

 

UNITED STA'I`ES OF AMERICA § JUDGMEN’I` IN A CRIMINAL CASE
V. )
CARL N' HOCKER § Case Number; 5:17CR46
§ USM Number; 12314-057
) Martin P. Sheehan
) Del'cndant's Attomey
THE DEFENDANT:
El pleaded guilty to count(s) One
l:l pleaded nolo contendere to count(s)
which was accepted by the court
[l wis found guilty on count(s)
after a plea of`not guilty.
The defendant is adjudicated guilty of these offenses
Title & Scction Nature of Offense Oi`i`ense Endcd Count
21 U.S.C. §§ 846 and Conspiracy to Distribute and to Possess with the intent to 12/05/2017 1

841(b)(1)(C) Dlstribute Oxycodone

[:i Scc additional count(s) tm page 2
The defendant is sentenced as provided in pages 2 through MMZW_%W Gfihis judgment The sentence is imposed pursuant to

the Semencing Reform Act of 1984.

[:] 'i`ltc defendant has been found riot guilty on count(s)

MCount(s) 2, 3 and 4 are dismissed on the motion of the United Stz\tesk

 

lt is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid, lf ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances,

 

    

May 22, 2018
\Q§;..

 

   

Sigi\a re ui`.ldge'

._.~,f`~ _-.. .. itimt of!udgment
Honorable John Preston Bailey. United States District Judge
Name and Title of.ludge

MMM£I,QA,:;-jol 8

 

D&!C

Case 5:17--cr OOO46- §PB- §ES Document 47 Filed 06/22/18 Page 2 of 7 Page|D #: 149

Cy .~00046 JPB- JES DOCUment 38 l:iled 05/23/18 Page 2 Of 7 PagelD # 118

AO 2453 (Rev. 011 ,.,, judgment in a Criminal Case
Sheet 2 -»» lmprisonment

judgment w Fage M; of 7

DEFENDANT! CARL N. HOOKER
CASE NUMBER: S:lYCR¢lS

IMPRISONMENT

'l'he defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: 30 months

iii 'I`he court makes the following recommendations to the Bureau of Prisons:
ill That the defendant be incarcerated at an FCI or a facility as close to l\.llotindstrilteA (Marshall Countv) WV as possible;
[§_"] and ata facility where the defendant can participate in substance abuse treatment, as determined by the Bureau of Prisons;
[Zl including the SOO-Hour Residential Drug Abuse 'freatrnent Program.

[:] That the defendant be incarcerated at or a facility an close to his/her home in

as possible;

[] and at a facility where the defendant can participate in substance abuse treatment, as determined by the Bureau of Prisons;
l:l including the SOG~Hour Rcsidential Drug Abuse Treatment Program.

 

l:l

§§ Tltat the defendant be allowed to participate in any mental health treatment while incarcerated as determined by the Bureau
of Prisons.

m 'fl\at the defendant be allowed to participate in any educational or vocational opportunities while incarcerated as determined by
the Bureau of Prisons.

M Pursuant to 42 U.S.C. § 14135!\, the defendant shall submit to DNA collection while incarcerated in the Bureau ofPrisons,
or at the direction of the Prol)ation Offtcer.

[:] The defendant is remanded to the custody of the United States Marshal.
[3 'l`he defendant shall surrender to the United States Marshal for this district

El 51 [J a.rnt § p.m, on

l:l ns notified by the United Statcs Marslial.

 

iii The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

til before mm pman on Ju\g 25, 2018 v

[] as notified by the United States Marshal. § § leg §
[:] as notified by the Probation or Pretrial Services Ofiice. 3 w N § § § 6 j §
ll
l:] on , as directed by the United States Marshals Service,
§ `"" T CSUKT ‘\!`JVN€“F
lzi or to the United States Marshal Service, Wheeling, West Virginia ifno designation has been made'.§: 3 LDR§<:;;; §§ inn egth
RETURN

l have executed this judgment as follows:

Defendant delivered on ;j:{(/\ f Z 1 ll m I 4 w Hf /\‘/M`SELAL£QA¢;QW…W,,W…

Hcfdgrd~dv\jn t LJ\/ , with a certified copy ofmisjudéxnent.
t) t ~

tTC, )_Qat%olv
_ simmst

woman entries MAasnAL

  
 

 

Case 5:17-cr-OOO46-.]PB-.]ES Document 47 Filed 06/22/18 Page 3 of 7 Page|D #: 150

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AO 2458 (Rev. l}lfl S) .ludgmcnt in a Criminol Casc
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judgment»}’age § ,__ of Y_MWM

DEFENDANT: CARL N. HOOKER
CASE NUMBER: 5:17CR46

SUPERVISED RELEASE

Upon release From imprisonment, you will be on supervised release for a term of : 3 years

MANI)ATORY CONDITIONS

l. You must not commit another federal, state or local crime

2. You must not unlawfully possess a controlled substance
3. You must refrain from any unlawful use of a controlled substance You must submit to one drug test within l5 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the probation ofticer.
[_`] 'l`he above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse (ch¢ck depo/isable)

al D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution (cherk §fapplicable)

5, m You must cooperate in the collection of DNA as directed by the probation officers (cbeck ifapprimble)
Cl

you must comply with the requirements of the Sex Oft`ender Registration and Notitication Act (34 U.S.C. § 2090!, et seqr.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted ofa qualifying offense (checlr grapptrcable)

?, ['_`l You must participate in an approved program for domestic violence (che¢k grapplimb!e}

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page

Case 5:17-cr-OOO46-JPB-.]ES Document 47 Filed 06/22/18 Page 4 of 7 Page|D #: 151

Case 5:17~cr»00046~3PB-JES Document 38 l:iled 05/23/18 Page 4 of 7 PagelD #: 120

AO 2458 (Rcvg 02§18} ludgment in a Criminal Cax
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DEFENDANT: cARL N. HooKER ’“dg'“=“‘~r"°€" 4 °l ?
CASENUMBER: simms

STANDARD CONDITIONS CF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision ’l`hese conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonmentt unless the probation officer instructs you to report to a different probation office or within a different
time frame

2. Afler initially reporting to the probation oftice, you will receive instructions from the court or the probation officer about how and when

you must report to the probation ofticer, and you must report to the probation officer as instructed

You shall not commit another federal, state or local crimeE f

You shall not unlawfully possess a controlled substance You shall refrain from any unlawful use of a controlled substancel You shall

submit to one drug test within l5 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the

probation officer.

5. You must not knowingly leave the federaljudicial district where you are authorized to reside without first getting permission from the

court or the probation oft`icer.

You must answer truthfully the questions asked by your probation officer.

?. You must live at a place approved by the probation otiicer, if you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change If notifying
the probation officer in advance is not possible due to unanticipated circumstances you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

8. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

9. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. lf you do not have full-time employment you must try to find full~time cmployinent, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or yourjob
responsibilities), you must notify the probation officer at least 10 days before the change lf notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change

lD. You must not communicate or interact with someone you know is engaged in criminal activity if you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation oft`icer,

l l. lf you are arrested or questioned by a law enforcement ofticer, you must notify the probation officer within 72 hours.

l2. You must not own, possess, or have access to a firearm, ammunitiony destructive device, or dangerous weapon (i.e., anything that was
dcsigned, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchaltus or tasers),

l3. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

l4. lf the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction 'l`he probation officer may contact the
person and confirm that you have notified the person about the risk.

15. you shall not purchase, possess or consume any organic or synthetic intoxicants, including bath salts, synthetic cannabinoids or other
designer stimulants.

15- You shall not frequent places that sell or distribute synthetic cannabinoids or other designer stimulants.

l7. Upon reasonable suspicion by the probation ofticer, you shall submit your person, property, house, residence, vehicle, papers,
computers or other electronic communications or data storage devices or media, or oftice, to a search conducted by a United States
Probation Ofiicer. Failure to submit to a search may be grounds for revocation of release. You shall worn any other occupants that
the premises may be subject to searches pursuant to this condition

18. You are prohibited from possessing a potentially vicious or dangerous animal or residing with anyone who possess a potentially
vicious or dangerous animal, ’liic probation officer has sole authority to determine what animals are considered to be
potentially vicious or dangerous

l9. You must follow the instructions of the probation officer related to the conditions ofsupervision.

:“l*’

?\

U.S. Probation Oftice Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these conditions see 0vei'view of Proboti`on and Szrpervr`sed
Release Condr'ti'ons, available at: mvw.uscourts.gov.

Defcndant's Signature w Date

 

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AO 2458 (Rct'. 025!8) .ludgmcnt in a Criminal Co.sc
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DEFENDANT: CARL N. HOGKER v
CASE NUMBER: 5517CR46

 

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SPECIAL CONDITIONS GF SUPERVISION

l} You must participate in substance abuse treatment The probation officer will supervise your participation in the
program

2) You must submit to substance abuse testing to determine if you have used a prohibited substancel You must not
attempt to obstruct or tamper with the testing methods

3) You must participate in a mental health treatment program and follow the rules and regulations ot that program The
probation oificer, in consultation with the treatment provider, will supervise your participation in the program (provider,
location, modelity, duration, intensity, etc.).

4) You must take all mental health medications that are prescribed by your treating physician

5) You must comply with the Northern Distn'ct of West \/irginia Offender Employment Program which may include
participation in training, counseling, and/or daily job search as directed by the probation offices Uniess excused for
legitimate reasons if not in compliance with the condition of supervision requiring full-time employment at a lawful
occupation you may be required to perform up to 20 hours of community service per week until employed, as approved by
the probation oft`icer.

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AO 245B (Rev, 025|8) ludgmcnt in a Criminal Cuse
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DEFENDANT: CARL N. HOOKER
CASE NUMBER: 5;17'CR46

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Rostitution
'I`O'I`ALS S 100 S 0 S 0 3 0
l:l The determination of restitution is deferred until WM__(WW . An Amendea' Judgment in a Crimr'na! Ca.re (Ao 245€) will be entered

sher such determination

l:} Thc defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lt the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. l‘lowevcr, pursuant to 18 U.S.C, § 3664(i), all nonfederal victims must be
paid bct`orc the United States is paid.

'I`he victim’s recovery is limited to tltc amount of their loss and the defendants liability for restitution ceases it` and when the victim
receives full restitution

blame of Payoc Total Luss** Rcstitution Ordcrod Prtority or Porccntz\gc

 

TOTALS 3 3

l:l See Statement of Reasons for Victim information

l:l Restitution amount ordered pursuant to plea agreement $

l:l 'I`hc defendant must pay interest on restitution and a fine of more than 52,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(6. Atl ofthe payment options on Sheet 6 may be subject
to penalties for delinquency and default pursuant to l8 U.S.C. § 3612(g).

ij 'I`he court determined that the defendant does not have the ability to pay interest and it is ordered thot:
[‘_] the interest requirement is waived for the l.:l fine ij restitution

l:l the interest requirement for the ij fine ij restitution is modifiedast`ollows:

* .lus_tico for Victims of'l`raffickin Act onGlS, lfub. L. No. 114-2?.. _
*“ Ftndmgs for the total amount o losses are required under Ctiapters lt)9A, l lf), l lOA, and l l3A ot"l'itle i8 for offenses committed on or
after Scptembor 13, 1994, but before April 23, 1996.

Case 5:17-cr-OOO46-.]PB-.]ES Document 47 Filed 06/22/18 Page 7 of 7 Page|D #: 154

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AO 2458 (Rev. 02518) ludgrncnt in a Criminal Case
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DEFENDANT: CARL N. HOOKER
CASE NUMBER: 5217CR46

SCHEDULE OF PAYMENTS

l~iaving assessed the defendant’s ability to pay, payment of die total criminal monetary penalties is due as follows:

A M Lump sum payment of S alpa M, due immediately, balance due

[] not later than w

wm WNMMWWWWM , GI'

g in accordance with l:l C l:l D, §§ E, El F, or MG below); or
B l:l Payment to begin immediately (may be combined with [J C, l:l D, l:l F, or l:l G below); or

C ij Payment in equal M v (e,g,, weetiy, monthly quarterly installments of S MMWM a over a period of
w (e.g., 30 or 60 days) after the date of this judgment; or

(e.gt, months oryears), to commence

D l:] Payrnentin equal M¢Ws.,

 

 

 

(e;g.. weekly, monthly quarlerly) installments Oi` $ m , over a period of
W…/ w (e‘g(, ,m,m},s 0,»),€¢,»5), to commence MMMMMMM (e.gi, 30 or 60 days) nder release from imprisonment to a
term ofsupervisiou; or
E [`_] Payment during the term of supervised release will commence within w MM v (e.g., 30 or 60 days) after release from

imprisonment The court will set the payment plan based on an assessmeni of the defendant’s ability to pay at that time; or

F l:] Spceial instructions regarding the payment ot` criminal monetary penalties:

Financial obligations ordered are to be paid while the defendant is incarcerated and it payment is not completed during
incarceration, it is to be completed by the end of the term of supervised release; or

G §Z] Special instructions regarding the payment of criminal monetary penalties:

Tlie defendant shall immediately begin making restitution and/or line payments of $ per month, due on the first
of each month. Tltese payments shall be made during incarceration, and if necessary, during supervised release

Unless the court has expressly ordered otherwise il` thisjudg,ment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
inmate Finzmcial Responsibility Program, are made to Clerk, U. S. District Court, Northern District ofWest Virginia, P.O. Box 15 l 8,
Ell<ins, WV 2624l.

Tlie defendant shall receive credit t`or all payments previously made toward any criminal monetary penalties imposed

l:] Joint and Several

Det`endant and §,`o-Det`cndant Names_ and Caae Numbers (including defendant namber), Total Amount, Joint and Several Amourit,
and corresponding payee, if appropriate

m Tiic defendant shall pay the cost of prosecution
l:l Ttie defendant shall pay the following court cost($):

[:l Tlte defendant shall forfeit tito dei`endant's interest in tire following property to the United States:

Fayments shell be applied in tli_e followi!'p§rorder: (l) assessment, (2) restitution principal (3) restitution interestt (4) fine principnl, (5) fine
interest, (6) community restitution, (7) A assessment, (8) penalties, and (9} costs, including cost of prosecution and court costs

